 DeMarco•Mitchell,
Case 23-42504-elm11PLLC         Doc 15       Filed 08/31/23 Entered 08/31/23 16:08:46                        Desc Main
 Robert T. DeMarco                         Document      Page 1 of 24
 Michael S. Mitchell
 1255 West 15th St., 805
 Plano, TX 75075
 T 972-578-1400
 F 972-346-6791

                                IN THE UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION

     IN RE:                                                   Case No.:          23-42504-ELM-11
                                                              Chapter:           11
     Eagle Trucklines, Inc.,
                                                 Debtor.1 JOINT ADMINISTRATION REQUESTED
     IN RE:                                               Case No.:   23-42505-ELM-11
                                                          Chapter:    11
     Eagle Trans, Inc.,
                                                  Debtor. JOINT ADMINISTRATION REQUESTED
     IN RE:                                               Case No.:   23-42506-MXM-11
                                                          Chapter:    11
     Eagle Fast Ways, Inc.,
                                                  Debtor. JOINT ADMINISTRATION REQUESTED

                  DEBTORS’ APPLICATION FOR ORDER AUTHORIZING EMPLOYMENT
                   OF DEMARCO·MITCHELL, PLLC, AS COUNSEL FOR THE DEBTORS
                         [11 U.S.C. § 327(a) AND FEDERAL RULE 2014(a)]

                                            14-DAY NEGATIVE NOTICE

 NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS FILED WITH THE
 CLERK OF THE UNITED STATES BANKRUPTCY COURT AT THE ELDON B. MAHON U.S.
 COURTHOUSE, 501 W. 10TH ST., FORT WORTH, TX 76102-3643 BEFORE CLOSE OF BUSINESS ON
 SEPTEMBER 14, 2023, WHICH IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A COPY SHALL BE SERVED
 UPON COUNSEL FOR THE MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF
 A RESPONSE IS FILED A HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

 IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE RELIEF REQUESTED
 SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING THE
 RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN



 1
  The Debtors in these proceedings (including the last four digits of their respective taxpayer identification numbers)
 are: Eagle Trucklines, Inc., (8689), Eagle Trans, Inc., (8027), and Eagle Fast Ways, Inc. (3935). The Debtors’ respective
 corporate headquarters are: 180 State Street, Southlake, Texas 76092; 4435 East Chandler Blvd., Phoenix, Arizona
 85048; and 525 Woodland Square Blvd., Conroe, Texas 77384.
Case 23-42504-elm11          Doc 15       Filed 08/31/23 Entered 08/31/23 16:08:46     Desc Main
                                        Document      Page 2 of 24



 TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW, Eagle Trucklines, Inc, Eagle Trans, Inc., and Eagle Fast Ways, Inc., debtors

 and debtors in possession in the above-styled and numbered cases (collectively, the “Debtors”),

 and files this Debtors’ Application for Order Authorizing Employment of DeMarco·Mitchell, PLLC

 as Counsel for the Debtors [11 U.S.C. § 327(a) and Federal Rule 2014(a)] (the “Application”) by

 and through the undersigned attorney. By the Application, the Debtors request the entry of an

 order authorizing the Debtors to employ the firm of DeMarco·Mitchell, PLLC, (“DM”) as general

 counsel for the Debtors. In support of the Application, the Debtors would respectfully show the

 Court as follows:

                                           I.     JURISDICTION

         1.      The Court has jurisdiction over the subject matter of this Motion pursuant to 28

 U.S.C. §1334(b) and the standing order of reference of the District Court. This matter is a core

 proceeding. 28 U.S.C. §157(b).

         2.      Venue in this Court is proper under 28 U.S.C. §§ 1408 and 1409.

         3.      The bases for the relief requested herein include §§ 105(a), 327 and 330 of 11

 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy

 Procedure, and Local Rule 2014 of the Local Rules of Bankruptcy Procedure for the Eastern

 District of Texas.

                                  II.      PROCEDURAL BACKGROUND

         4.      These bankruptcy cases were commenced by the filing of voluntary petitions for

 relief under Chapter 11 of the Bankruptcy Code on August 25, 2023 (the “Petition Date”).

         5.      Brad W. Odell has been appointed as the Subchapter V Chapter 11 bankruptcy



  Debtors’ Application for Order Authorizing Employment of DeMarco·Mitchell, PLLC as      Page 2
  Counsel for the Debtors [11 U.S.C. § 327(a) and Federal Rule 2014(a)]
Case 23-42504-elm11          Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46             Desc Main
                                      Document      Page 3 of 24



 trustee.

         6.        The Debtors conduct “over-the-road” trucking operations; transporting goods and

 products nationwide. The Debtors operate as a single economic unit. The sole shareholder of

 each of the Debtors is Gurinder Chouhan. Mr. Chohan also serves as the president of each

 Debtor.

                                       III.     RELIEF REQUESTED

         7.        The Debtors desire to hire DM as counsel to perform extensive legal services as

 more fully set forth in paragraph 8 herein. The shareholders and/or associates of DM who will

 be engaged in these proceedings are duly admitted to practice before this Court.

         8.        The Debtors selected as its attorneys the law firm of DM because the firm has

 experience and knowledge in the field of debtors’ and creditors’ rights and because it has handled

 numerous bankruptcy cases and proceedings. Accordingly, Debtors believe DM is qualified to

 represent it in these proceedings.

         9.        Subject to the control and further order of this Court, DM will be required to

 render the following services to the Debtors:

                   a.     To take all necessary action to protect and preserve the Estate, including

         the prosecution of actions on its behalf, the defense of any actions commenced against

         it, negotiations concerning all litigation in which it is involved, and objecting to claims;

                   b.     To prepare on behalf of the Debtors all necessary motions, applications,

         answers, orders, reports, and papers in connection with the administration of the estate

         herein;

                   c.     To formulate, negotiate, and propose a plan of reorganization; and



  Debtors’ Application for Order Authorizing Employment of DeMarco·Mitchell, PLLC as            Page 3
  Counsel for the Debtors [11 U.S.C. § 327(a) and Federal Rule 2014(a)]
Case 23-42504-elm11          Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46        Desc Main
                                      Document      Page 4 of 24



                 d.      To perform all other necessary legal services in connection with these

         proceedings.

         10.     DM has indicated a willingness to act on the Debtors’ behalf.

         11.     Pursuant to the provisions of Bankruptcy Rule 2014(a), the Declaration of Robert

 T. DeMarco is attached hereto as Exhibit “A”. Except as may be stated herein and in the

 declaration of Mr. DeMarco, DM, its associates, shareholders, and other members, to the best of

 the Debtors’ knowledge, DM: (a) does not hold or represent any material interest adverse to the

 Debtors or their respective bankruptcy estates; and (b) is a “disinterested person” as that term

 is defined in section 101(14) of the Bankruptcy Code. Moreover, the Debtors believe the

 employment of DM is necessary and in the best interest of the Debtors and their respective

 bankruptcy estates.

         12.     The Debtors desires to employ DM on an hourly basis for actual and necessary

 services rendered by DM, based upon the time, the nature, the extent, and the value of said

 services, in accordance with the firm’s usual rates for the cost of comparable services other than

 in a case under Chapter 11, together with any reimbursement of the firm’s actual and necessary

 expenses. The current rates effective on January 1, 2023, of the firm are set out in the schedule

 attached hereto as Exhibit “B”. The Disclosure of Compensation of Attorney for Debtors required

 by Bankruptcy Rule 2016(b) is attached hereto as Exhibit “C”.

         WHEREFORE, PREMISES CONSIDERED, the Debtors respectfully requests that it be

 authorized to employ and retain the law firm of DeMarco·Mitchell, PLLC, in this case under

 Chapter 11 of the United States Bankruptcy Code; and for such other and further relief as this

 Court might deem just and proper.



  Debtors’ Application for Order Authorizing Employment of DeMarco·Mitchell, PLLC as        Page 4
  Counsel for the Debtors [11 U.S.C. § 327(a) and Federal Rule 2014(a)]
Case 23-42504-elm11          Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46                     Desc Main
                                      Document      Page 5 of 24




                                                       Respectfully submitted,

  Dated: August 31, 2023                               /s/ Robert T. DeMarco
                                                       DeMarco•Mitchell, PLLC
                                                       Robert T. DeMarco, Texas Bar No. 24014543
                                                       Email robert@demarcomitchell.com
                                                       Michael S. Mitchell, Texas Bar No. 00788065
                                                       Email mike@demarcomitchell.com
                                                       1255 W. 15th Street, 805
                                                       Plano, TX 75075
                                                       T        972-578-1400
                                                       F        972-346-6791
                                                       Proposed Counsel for Debtors and Debtors-
                                                       in-Possession

                                        CERTIFICATE OF SERVICE

         The undersigned counsel herby certifies that true and correct copies of the foregoing
 pleading and all attachments were served upon all parties listed below in accordance with
 applicable rules of bankruptcy procedure on this 31st day of August, 2023. Where possible,
 service was made electronically via the Court’s ECF noticing system or via facsimile transmission
 where a facsimile number is set forth below. Where such electronic service was not possible,
 service was made via regular first class mail.

                                                 DEBTORS

  Eagle Trucklines, Inc.,                               Eagle Trans, Inc.,
  180 State Street                                      4435 East Chandler Blvd.
  Southlake, Texas 76092                                Phoenix, Arizona 85048

  Eagle Fast Ways, Inc.,
  525 Woodland Square Blvd.
  Conroe, Texas 77384

                                                 TRUSTEES

  Office of the United States Trustee                   Brad W. Odell-SBRA V
  1100 Commerce Street                                  Mullin Hoard & Brown, L.L.P.
  Room 976                                              P.O. Box 2585
  Dallas, TX 75202                                      Lubbock, TX 79408

            ADDITIONAL PARTIES IN INTEREST AND/OR PARTIES REQUESTING NOTICE

                                         SEE ATTACHED MATRIX


  Debtors’ Application for Order Authorizing Employment of DeMarco·Mitchell, PLLC as                   Page 5
  Counsel for the Debtors [11 U.S.C. § 327(a) and Federal Rule 2014(a)]
Case 23-42504-elm11          Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46       Desc Main
                                      Document      Page 6 of 24




  /s/ Robert T. DeMarco
  DeMarco•Mitchell, PLLC
  Robert T. DeMarco, Texas Bar No. 24014543
  Email robert@demarcomitchell.com
  1255 W. 15th Street, 805
  Plano, TX 75075
  T        972-578-1400
  F        972-346-6791




  Debtors’ Application for Order Authorizing Employment of DeMarco·Mitchell, PLLC as     Page 6
  Counsel for the Debtors [11 U.S.C. § 327(a) and Federal Rule 2014(a)]
Case 23-42504-elm11   Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46   Desc Main
                               Document      Page 7 of 24




                      EXHIBIT “A”
 DeMarco•Mitchell,
Case 23-42504-elm11PLLC         Doc 15       Filed 08/31/23 Entered 08/31/23 16:08:46                        Desc Main
 Robert T. DeMarco                         Document      Page 8 of 24
 Michael S. Mitchell
 1255 West 15th St., 805
 Plano, TX 75075
 T 972-578-1400
 F 972-346-6791

                                IN THE UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION


     IN RE:                                                   Case No.:          23-42504-ELM-11
                                                              Chapter:           11
     Eagle Trucklines, Inc.,
                                                 Debtor.1 JOINT ADMINISTRATION REQUESTED
     IN RE:                                               Case No.:   23-42505-ELM-11
                                                          Chapter:    11
     Eagle Trans, Inc.,
     Debtor.                                                  JOINT ADMINISTRATION REQUESTED
     IN RE:                                                   Case No.:   23-42506-MXM-11
                                                              Chapter:    11
     Eagle Fast Ways, Inc.,
     Debtor.                                                  JOINT ADMINISTRATION REQUESTED

                                     DECLARATION IN SUPPORT OF
                      OF DEMARCO·MITCHELL, PLLC, AS COUNSEL FOR THE DEBTORS
                            [11 U.S.C. § 327(a) AND FEDERAL RULE 2014(a)]

              I, Robert T. DeMarco, hereby state that I am over eighteen (18) years of age, of sound

 mind, qualified and competent in all respects to make this Declaration, and do so of my own

 personal knowledge, and further state the following:

                                                 A.       Background

              1.     I am an attorney at law admitted to practice in the State of Texas and the Federal

 District Courts for the Northern and Eastern Districts of Texas. I am a member of the law firm of

 DeMarco·Mitchell, PLLC (“DM”), which firm maintains offices for the practice of law at 1255 West




 1
  The Debtors in these proceedings (including the last four digits of their respective taxpayer identification numbers)
 are: Eagle Trucklines, Inc., (8689), Eagle Trans, Inc., (8027), and Eagle Fast Ways, Inc. (3935). The Debtors’ respective
 corporate headquarters are: 180 State Street, Southlake, Texas 76092; 4435 East Chandler Blvd., Phoenix, Arizona
 85048; and 525 Woodland Square Blvd., Conroe, Texas 77384.
Case 23-42504-elm11          Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46             Desc Main
                                      Document      Page 9 of 24



 15th Street, Suite 805, Plano, TX 75075.

         2.      DM, its associates, shareholders, and other members, to the best of my

 knowledge, do not have any connection with the Debtors, their creditors or any other party in

 interest, their respective attorneys and accountants, the United States Trustee, or any person

 employed in the office of the United States Trustee.

                                         B.      Disinterestedness

         3.      Except as otherwise stated herein, to the best of my knowledge, neither I nor any

 employee of DM have any connection with the Debtors, their known secured, priority and

 unsecured creditors, or any other parties in interest or their respective attorneys or accountants.

         4.      To the best of my knowledge, DM is a “disinterested person” as that term is

 defined in section 101(14) of the Bankruptcy Code in that DM:

                 a.       is not a creditor, equity security holder or insider of the Debtors;

                 b.       is not and was not, within two years before the date of the filing of the

         petition, a director, officer, or employee of the Debtors; and

                 c.       does not have an interest materially adverse to the interest of the estates

         or of any class of creditors or equity security holders, by reason of any direct or indirect

         relationship to, connection with, or interest in, the Debtors, or for any other reason.

         5.      To the best of my knowledge DM neither holds nor represents an interest adverse

 to the Debtors within the meaning of section 327(a) of the Bankruptcy Code, except as otherwise

 set forth herein.

         6.      Neither DM, nor any partner or associate thereof, has received or been promised

 any compensation for legal services rendered or to be rendered in any capacity in connection



  Declaration in Support of Debtors’ Application for Order Authorizing Employment of             Page 2
  DeMarco·Mitchell, PLLC, as Counsel for the Debtors
Case 23-42504-elm11          Doc 15 Filed 08/31/23 Entered 08/31/23 16:08:46                 Desc Main
                                   Document    Page 10 of 24



 with these bankruptcy cases, other than as permitted by the Bankruptcy Code. DM has not

 agreed to share compensation received in connection with these cases with any other person,

 except as permitted by section 504(b) of the Bankruptcy Code and Bankruptcy Rule 2016(b)

 respecting the sharing of compensation among DM’s partners.

         7.      If any new and relevant facts or relationships are discovered or arise, DM will

 promptly file a supplemental affidavit or declaration in accord with Bankruptcy Rule 2014(a).

                                           C.      Qualifications

         8.      DM has experience and knowledge in the field of bankruptcy and insolvency law.

 Personally, I have over 35 years of experience in these areas and am well–qualified to assist the

 Debtor with such needs.

         9.      Personally, I hold a Bachelor of Arts in Political Science, and Political Philosophy,

 from Syracuse University (1984). I also hold a Juris Doctor, from Pepperdine University School of

 Law (1988).

         10.     Both I and DM have indicated a willingness to act on behalf of the Debtors and to

 subject ourselves to the jurisdiction and supervision of this Court.

                                     D.      Scope of Representation

         11.     DM anticipates providing the following services to the Debtors subject to further

 order of the Court:

                 a.       To take all necessary action to protect and preserve the estates, including

         the prosecution of actions on its behalf, the defense of any actions commenced against

         it, negotiations concerning all litigation in which it is involved, and objecting to claims;

                 b.       To prepare on behalf of the Debtors all necessary motions, applications,



  Declaration in Support of Debtors’ Application for Order Authorizing Employment of            Page 3
  DeMarco·Mitchell, PLLC, as Counsel for the Debtors
Case 23-42504-elm11             Doc 15 Filed 08/31/23 Entered 08/31/23 16:08:46             Desc Main
                                      Document    Page 11 of 24



         answers, orders, reports, and papers in connection with the administration of the estates

         herein;

                   c.        To formulate, negotiate, and propose a plan of reorganization; and

                   d.        To perform all other necessary legal services in connection with these

         proceedings.

                        E.        Compensation and Reimbursement of Expenses

                                            Eagle Trucklines, Inc.

         12.       DM commenced representation of the Eagle Trucklines, Inc. (“Trucklines”) on

 August 23, 2023. To date, a retainer of $9,238.00 has been paid to DM on behalf of the

 Trucklines. DM has incurred fees of $2,042.55, costs and expenses of $0.00, and filing fees of

 $1,738.00 prior to the Petition Date. The remaining balance held in trust by DM is $5,458.45.

                                              Eagle Trans, Inc.

         13.       DM commenced representation of the Eagle Trans, Inc. (“Trans”) on August 23,

 2023. To date, a retainer of $9,238.00 has been paid to DM on behalf of the Trans. DM has

 incurred fees of $2,042.55, costs and expenses of $0.00, and filing fees of $1,738.00 prior to the

 Petition Date. The remaining balance held in trust by DM is $5,458.45.

                                            Eagle Fast Ways, Inc.

         14.       DM commenced representation of the Eagle Fast Ways, Inc. (“Fast Ways”) on

 August 23, 2023. To date, a retainer of $9,238.00 has been paid to DM on behalf of the Fast

 Ways. DM has incurred fees of $2,042.55, costs and expenses of $0.00, and filing fees of

 $1,738.00 prior to the Petition Date. The remaining balance held in trust by DM is $5,458.45.

         15.       Pursuant to 11 U.S.C. §329(a) and Federal Rule of Bankruptcy Procedure 2016(b),



  Declaration in Support of Debtors’ Application for Order Authorizing Employment of              Page 4
  DeMarco·Mitchell, PLLC, as Counsel for the Debtors
Case 23-42504-elm11          Doc 15 Filed 08/31/23 Entered 08/31/23 16:08:46             Desc Main
                                   Document    Page 12 of 24



 I certify that DM are the attorneys for the above-named debtors and that compensation paid to

 DM within one year before the filing of the petition in bankruptcy, or agreed to be paid to DM,

 for services rendered on behalf of the debtor in contemplation or in connection with the

 bankruptcy case is as disclosed above.

         16.     I further represent that any and all billing statements will separately reflect the

 work performed for each debtor and where the same work is performed for multiple debtors,

 the hourly rate will be pro-rated accordingly.

                                            F.       Verification

         17.     In accordance with the provisions of 28 U.S.C § 1746, I declare under penalty of

 perjury that the foregoing is true and correct.




  Dated: August 31, 2023                                /s/ Robert T. DeMarco
                                                        Robert T. DeMarco




  Declaration in Support of Debtors’ Application for Order Authorizing Employment of         Page 5
  DeMarco·Mitchell, PLLC, as Counsel for the Debtors
Case 23-42504-elm11   Doc 15 Filed 08/31/23 Entered 08/31/23 16:08:46   Desc Main
                            Document    Page 13 of 24




                      EXHIBIT “B”
Case 23-42504-elm11      Doc 15 Filed 08/31/23 Entered 08/31/23 16:08:46    Desc Main
                               Document    Page 14 of 24




                            DEMARCO · MITCHELL, PLLC
                              1255 West 15th Street, Suite 805
                                   Plano, Texas 75075


                                     RATE SCHEDULE


   ATTORNEY                                                       RATE / HOUR
   Robert T. DeMarco                                              $400.00

   Michael S. Mitchell                                            $300.00




   PARALEGAL

   Barbara Drake                                                  $125.00
Case 23-42504-elm11   Doc 15 Filed 08/31/23 Entered 08/31/23 16:08:46   Desc Main
                            Document    Page 15 of 24




                      EXHIBIT “C”
 DeMarco•Mitchell,
Case
Case 23-42506-mxm11
      23-42504-elm11 PLLC Doc
                          Doc15
                              14 Filed
                                  Filed08/31/23
                                       08/31/23 Entered
                                                 Entered08/31/23
                                                          08/31/2316:08:46
                                                                  12:16:29 Desc
                                                                           DescMain
                                                                                Main
 Robert T. DeMarco             Document
                                Document    Page
                                             Page16
                                                  1 of 2
                                                       24
 Michael S. Mitchell
 1255 West 15th St., 805
 Plano, TX 75075
 T 972-578-1400
 F 972-346-6791

                            IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  IN RE:                                           Case No.:      23-42506-MXM-11
                                                   Chapter:       11
  Eagle Fast Ways, Inc.,
                                        Debtor.

                           DISCLOSURE OF COMPENSATION OF ATTORNEY
                                       [11 U.S.C. § 329(a)]

         Pursuant to 11 U.S.C. § 329(a) and Rule 2016(b) of the Federal Rules of Bankruptcy
 Procedure, I certify that I am the attorney for the above named Debtor and that compensation
 paid to me or my law firm within one (1) year before the petition in bankruptcy, or agreed to be
 paid to me or my firm, for services (“Services”) rendered or to be rendered on behalf of the above
 referenced Debtor in contemplation of or in connection with the bankruptcy cases is as follows:

 Prepetition Services: DeMarco Mitchell, PLLC, (“DM”) agreed to accept payment on an hourly
 basis plus costs for prepetition Services relating to the Debtor’s bankruptcy case. DM incurred
 fees in the amount of $2,042.55 and expenses in the amount of $1,738.00 prior to the
 commencement of the case sub judice (“Petition Date”).

 Prepetition Retainer: DM received a retainer of $9,238.00 prior to the Petition Date. After
 deducting the total fees and expenses incurred by the Debtor Prepetition, the remainder held in
 trust by DM is $5,458.45.

 Postpetition Services: DM has agreed to accept payment on an hourly basis plus costs for
 postpetition services subject to approval by this Court.

 Sharing of Compensation: DM has not agreed to share the above disclosed compensation with
 any other person unless they are members or associates of DM.

                                          CERTIFICATION

        I hereby certify that the foregoing is a complete statement of any agreement or
 arrangement for payment to me or DM for representation of the Debtor in the above referenced
 bankruptcy case.
Case
Case23-42506-mxm11
     23-42504-elm11 Doc
                    Doc15
                        14 Filed
                            Filed08/31/23
                                 08/31/23 Entered
                                           Entered08/31/23
                                                    08/31/2316:08:46
                                                            12:16:29 Desc
                                                                     DescMain
                                                                          Main
                         Document
                          Document PagePage17
                                            2 of 2
                                                 24



                                       Respectfully submitted,

  Dated: August 31, 2023               /s/ Robert T. DeMarco
                                       DeMarco•Mitchell, PLLC
                                       Robert T. DeMarco, Texas Bar No. 24014543
                                       Email robert@demarcomitchell.com
                                       Michael S. Mitchell, Texas Bar No. 00788065
                                       Email mike@demarcomitchell.com
                                       1255 W. 15th Street, 805
                                       Plano, TX 75075
                                       T        972-578-1400
                                       F        972-346-6791
                                       Proposed Counsel for Debtor and Debtor-in-
                                       Possession




  FORM 2016(b)                                                                       Page 2
 DeMarco•Mitchell,
Case 23-42505-elm11
     23-42504-elm11PLLC     Doc 15
                                12 Filed 08/31/23 Entered 08/31/23 16:08:46
                                                                   12:15:13             Desc Main
 Robert T. DeMarco                Document
                                   Document Page
                                               Page18
                                                    1 of 2
                                                         24
 Michael S. Mitchell
 1255 West 15th St., 805
 Plano, TX 75075
 T 972-578-1400
 F 972-346-6791

                            IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  IN RE:                                           Case No.:      23-42505-ELM-11
                                                   Chapter:       11
  Eagle Trans, Inc.,
                                        Debtor.

                           DISCLOSURE OF COMPENSATION OF ATTORNEY
                                       [11 U.S.C. § 329(a)]

         Pursuant to 11 U.S.C. § 329(a) and Rule 2016(b) of the Federal Rules of Bankruptcy
 Procedure, I certify that I am the attorney for the above named Debtor and that compensation
 paid to me or my law firm within one (1) year before the petition in bankruptcy, or agreed to be
 paid to me or my firm, for services (“Services”) rendered or to be rendered on behalf of the above
 referenced Debtor in contemplation of or in connection with the bankruptcy cases is as follows:

 Prepetition Services: DeMarco Mitchell, PLLC, (“DM”) agreed to accept payment on an hourly
 basis plus costs for prepetition Services relating to the Debtor’s bankruptcy case. DM incurred
 fees in the amount of $2,042.55 and expenses in the amount of $1,738.00 prior to the
 commencement of the case sub judice (“Petition Date”).

 Prepetition Retainer: DM received a retainer of $9,238.00 prior to the Petition Date. After
 deducting the total fees and expenses incurred by the Debtor Prepetition, the remainder held in
 trust by DM is $5,458.45.

 Postpetition Services: DM has agreed to accept payment on an hourly basis plus costs for
 postpetition services subject to approval by this Court.

 Sharing of Compensation: DM has not agreed to share the above disclosed compensation with
 any other person unless they are members or associates of DM.

                                          CERTIFICATION

        I hereby certify that the foregoing is a complete statement of any agreement or
 arrangement for payment to me or DM for representation of the Debtor in the above referenced
 bankruptcy case.
Case 23-42504-elm11
     23-42505-elm11        Doc 15
                               12 Filed 08/31/23 Entered 08/31/23 16:08:46
                                                                  12:15:13                 Desc Main
                                 Document
                                  Document Page
                                              Page19
                                                   2 of 2
                                                        24



                                             Respectfully submitted,

  Dated: August 31, 2023                     /s/ Robert T. DeMarco
                                             DeMarco•Mitchell, PLLC
                                             Robert T. DeMarco, Texas Bar No. 24014543
                                             Email robert@demarcomitchell.com
                                             Michael S. Mitchell, Texas Bar No. 00788065
                                             Email mike@demarcomitchell.com
                                             1255 W. 15th Street, 805
                                             Plano, TX 75075
                                             T        972-578-1400
                                             F        972-346-6791
                                             Proposed Counsel for Debtor and Debtor-in-
                                             Possession




  FORM 2016(b)                                                                               Page 2
 DeMarco•Mitchell,
Case 23-42504-elm11PLLC      Doc 15
                                 14 Filed 08/31/23 Entered 08/31/23 16:08:46
                                                                    12:10:53            Desc Main
 Robert T. DeMarco                 Document
                                    Document Page
                                                Page20
                                                     1 of 2
                                                          24
 Michael S. Mitchell
 1255 West 15th St., 805
 Plano, TX 75075
 T 972-578-1400
 F 972-346-6791

                             IN THE UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

  IN RE:                                           Case No.:      23-42504-ELM-11
                                                   Chapter:       11
  Eagle Trucklines, Inc.,
                                        Debtor.

                            DISCLOSURE OF COMPENSATION OF ATTORNEY
                                        [11 U.S.C. § 329(a)]

         Pursuant to 11 U.S.C. § 329(a) and Rule 2016(b) of the Federal Rules of Bankruptcy
 Procedure, I certify that I am the attorney for the above named Debtor and that compensation
 paid to me or my law firm within one (1) year before the petition in bankruptcy, or agreed to be
 paid to me or my firm, for services (“Services”) rendered or to be rendered on behalf of the above
 referenced Debtor in contemplation of or in connection with the bankruptcy cases is as follows:

 Prepetition Services: DeMarco Mitchell, PLLC, (“DM”) agreed to accept payment on an hourly
 basis plus costs for prepetition Services relating to the Debtor’s bankruptcy case. DM incurred
 fees in the amount of $2,042.55 and expenses in the amount of $1,738.00 prior to the
 commencement of the case sub judice (“Petition Date”).

 Prepetition Retainer: DM received a retainer of $9,238.00 prior to the Petition Date. After
 deducting the total fees and expenses incurred by the Debtor Prepetition, the remainder held in
 trust by DM is $5,458.45.

 Postpetition Services: DM has agreed to accept payment on an hourly basis plus costs for
 postpetition services subject to approval by this Court.

 Sharing of Compensation: DM has not agreed to share the above disclosed compensation with
 any other person unless they are members or associates of DM.

                                          CERTIFICATION

        I hereby certify that the foregoing is a complete statement of any agreement or
 arrangement for payment to me or DM for representation of the Debtor in the above referenced
 bankruptcy case.
Case 23-42504-elm11        Doc 15
                               14 Filed 08/31/23 Entered 08/31/23 16:08:46
                                                                  12:10:53                 Desc Main
                                 Document
                                  Document Page
                                              Page21
                                                   2 of 2
                                                        24



                                             Respectfully submitted,

  Dated: August 31, 2023                     /s/ Robert T. DeMarco
                                             DeMarco•Mitchell, PLLC
                                             Robert T. DeMarco, Texas Bar No. 24014543
                                             Email robert@demarcomitchell.com
                                             Michael S. Mitchell, Texas Bar No. 00788065
                                             Email mike@demarcomitchell.com
                                             1255 W. 15th Street, 805
                                             Plano, TX 75075
                                             T        972-578-1400
                                             F        972-346-6791
                                             Proposed Counsel for Debtor and Debtor-in-
                                             Possession




  FORM 2016(b)                                                                               Page 2
         Case
USPS FIRST CLASS23-42504-elm11
                 MAILING RECIPIENTS: Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46     Desc Main
                                            Document
Parties whose names are struck through were not             PageClass
                                                served via First 22 ofUSPS
                                                                       24 Mail Service.
CASE INFO                               EXCLUDE                               EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING        (U)BMO HARRIS BANK NA                 (U)BANC OF AMERICA LEASING   CAPITAL
NCRS ADDRESS DOWNLOAD                                                         LLC
CASE 23-42504
NORTHERN DISTRICT OF TEXAS
THU AUG 31 12-5-43 PST 2023



DEBTOR                                                                        EXCLUDE
EAGLE TRUCKLINES INC                    MITSUBISHI HC CAPITAL AMERICA   INC   501 W TENTH STREET
180 STATE STREET 225                    CO KEMP SMITH LLP                     FORT WORTH TX 76102-3637
SOUTHLAKE TX 76092-7632                 221 N KANSAS STE 1700
                                        EL PASO TX 79901-1401




AMERICAN EXPRESS                        AMUR EQUIPMENT FINANCE                (P)ASCENTIUM CAPITAL
CORRESPONDENCEBANKRUPTCY                1324 N LAKE DRIVE                     ATTN DOMINIC DILORETO
PO BOX 981535                           LEXINGTON SC 29072-7673               239070 US 59 NORTH
EL PASO TX 79998-1535                                                         KINGWOOD TX 77339




ATTORNEY GENERAL OF THE UNITED STATES   BCT CONSULTING                        BMO HARRIS BANK
MAIN JUSTICE BLDG RM 5111               7910 N INGRAM AVE STE 101             PO BOX BOX 35707
10TH CONSTITUTION AVE NW                FRESNO CA 93711-5828                  BILLINGS MT 59107-5707
WASHINGTON DC 20503-0001




BMO HARRIS BANK NA                      BANK OF AMERICA                       BLUE BRIDGE
PO BOX 3040                             PO BOX 660441                         11921 FREEDOM DRIVE
CEDAR RAPIDS IA 52406-3040              DALLAS TX 75266-0441                  RESTON VA 20190-6225




(P)COMMERCIAL CREDIT GROUP INC          (P)JPMORGAN CHASE BANK N A            CORCENTRIC LLC
525 N TRYON STREET                      BANKRUPTCY MAIL INTAKE TEAM           62861 COLLECTIONS CENTER DRIVE
STE 1000                                700 KANSAS LANE FLOOR 01              CHICAGO IL 60693-0001
CHARLOTTE NC 28202-0210                 MONROE LA 71203-4774




CROSSROADS                              CROSSROADS FINANCIAL                  DALLAS COUNTY TAXASSESSOR COLLECTOR
9382 HAVEN AVE                          9382 HAVEN AVENUE                     500 ELM ST STE 2600
RCH CUCAMONGA CA 91730                  RANCHO CUCAMONGA CA 91730             DALLAS TX 75202-3304




DALLAS COUNTY TAXASSESSOR COLLECTOR     EFS LLC                               ENGS COMMERCIAL FINANCE
500 ELM STREET                          PO BOX 630038                         PO BOX 128
DALLAS TX 75202-3304                    CINCINNATI OH 45263-0038              ITASCA IL 60143-0128




GURINDER CHOUHAN                        HUNTINGTON BANK                       INTERNAL REVENUE SERVICE
12262 QUEENSTON BLVD C                  1405 XENIUM LANE NORTH PCC180         CENTRALIZED INSOLVENCY OPERATIONS
HOUSTON TX 77095-5361                   PLYMOUTH MN 55441-4408                PO BOX 7346
                                                                              PHILADELPHIA PA 19101-7346
         Case
USPS FIRST CLASS23-42504-elm11
                 MAILING RECIPIENTS: Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46      Desc Main
                                            Document
Parties whose names are struck through were not             PageClass
                                                served via First 23 ofUSPS
                                                                       24 Mail Service.
EXCLUDE
(D)INTERNAL REVENUE SERVICE               INTERSTATE BILLING SERVICE   INC     LEE FINANCIAL
CENTRALIZED INSOLVENCY OPERATIONS         DECATUR AL 35609                     PO BOX 12346
PO BOX 7346                               PO BOX 2208                          FRESNO CA 93777-2346
PHILADELPHIA PA 19101-7346                DECATUR AL 35609-2208




LOVES TRAVEL STOPS COUNTRY STORES         OFFICE OF THE ATTORNEY GENERAL       OFFICE OF THE UNITED STATES TRUSTEE
PO BOX 842568                             BANKRUPTCYCOLLECTIONS DIVISION       EARLE CABELL FEDERAL BUILDING
KANSAS CITY MO 64184-2568                 PO BOX 12548                         1100 COMMERCE STREET ROOM 976
                                          AUSTIN TX 78711-2548                 DALLAS TX 75242-1011




PACCAR                                    PACCAR                               PNC EQUIPMENT FINANCE
2892 E JENSEN AVENUE                      PO BOX 35707                         655 BUSINESS CENTER DR SUITE 250
SOUTHLAKE TX 76092                        BILLINGS MT 59107-5707               HORSHAM PA 19044-3448




PAPE KENWORTH                             SUMITMO MITSUI                       TANDEM
BOX 35144 5077                            666 THIRD AVENUE 8TH FLOOR           3801 AUTOMATION WAY 207
SEATTLE WA 98124-5144                     NEW YORK NY 10017-4033               FORT COLLINS CO 80525-5735




TEXAS ALCOHOLIC BEVERAGE COMMISSION       TEXAS ATTORNEY GENERALS OFFICE       TEXAS COMPTROLLER OF PUBLIC ACCOUNT
LICENSE AND PERMITS DIVISION              BANKRUPTCY COLLECTION DIVISION       CO OFFICE OF THE ATTORNEY GENERAL
PO BOX 13127                              PO BOX 12548                         BANKRUPTCY-COLLECTIONS DIVISION
AUSTIN TX 78711-3127                      AUSTIN TX 78711-2548                 PO BOX 12548 MC-008
                                                                               AUSTIN TX 78711-2548




(P)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   TEXAS WORKFORCE COMMISSION           THERMO KING OF CENTRAL CALIFORNIA
REVENUE ACCOUNTING DIV BANKRUPTCY         TEC BUILDING BANKRUPTCY              PO BOX 2367
SECTION                                   101 E 15TH ST                        FRESNO CA 93745-2367
PO BOX 13528                              AUSTIN TX 78778-1442
AUSTIN TX 78711-3528




(P)HUD OGC REGION VI                      US DEPT OF VETERANS AFFAIRS          US SECURITIES EXCHANGE COMM
TIMOTHY E FEELEY                          REGIONAL OFFICE FINANCE SECTION 24   FORT WORTH REGIONAL OFFICE
307 W SEVENTH ST SUITE 1000               701 CLAY AVE                         801 CHERRY ST STE 1900 UNIT 18
FT WORTH TX 76102-5108                    WACO TX 76799-0001                   FORT WORTH TX 76102-6819




US SMALL BUSINESS ADMINISTRATION          UMPQUA BANK                          UNITED STATES ATTORNEY
150 WESTPARK WAY STE 130                  3455 SOUTH 344TH WAY 300             1100 COMMERCE STREET 3RD FL
EULESS TX 76040-3705                      AUBURN WA 98001-9546                 DALLAS TX 75242-1074




UNITED STATES ATTORNEY                    UNITED STATES TRUSTEE                VOLVO VFS US LLC
NORTHERN DISTRICT OF TEXAS                1100 COMMERCE STREET                 PO BOX 26131
1100 COMMERCE STREET 3RD FL               ROOM 976                             GREENSBORO NC 27402-6131
DALLAS TX 75242-1074                      DALLAS TX 75242-0996
         Case
USPS FIRST CLASS23-42504-elm11
                 MAILING RECIPIENTS: Doc 15     Filed 08/31/23 Entered 08/31/23 16:08:46   Desc Main
                                            Document
Parties whose names are struck through were not             PageClass
                                                served via First 24 ofUSPS
                                                                       24 Mail Service.

VERDANT                               VOLVO                                 BRAD W ODELL SBRA V
12301 WHITEWATER DR STE 80            7025 ALBERT PICK ROAD 105             MULLIN HOARD BROWN LLP
HOPKINS MN 55343-4157                 GREENSBORO NC 27409-9519              PO BOX 2585
                                                                            LUBBOCK TX 79408-2585




ROBERT THOMAS DEMARCO
DEMARCOMITCHELL PLLC
1255 W 15TH ST STE 805
PLANO TX 75075-7225
